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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9                                                            CASE NO. C20-0642-JCC
            ARTHUR HARRIS,
10
                                                              ORDER TO SHOW CAUSE
11                                 Plaintiff,

12                  v.

13
            NEW REZ, LLC, et al.,
14
                                   Defendants.
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17          This matter comes before the Court sua sponte. Plaintiff filed an affidavit of service (Dkt.
18 No. 23) with the Court on September 5, 2020. In the affidavit, Plaintiff indicates he completed

19 service of process on Defendants New Rez LLC, Ditech LLC, and Shellpoint Mortgage

20 Company on September 3, 2020 by sending a copy of his Complaint (Dkt. No. 1-1), a copy of

21 the Court’s Order Regarding Discovery and Depositions (Dkt. No.7), and Summonses for all

22 three Defendants (Dkt. Nos. 22, 22-1, 22-2) to Defendant Shellpoint Mortgage Company’s last

23 known address. Defendants have not appeared in this matter.

24          Unless a defendant waives service or state law provides for service by mail, a plaintiff
25 must effect service through actual hand delivery of a copy of a summons and complaint to an

26 officer or authorized agent of each corporation, partnership, or association. Fed. R. Civ. P. 4(h).


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 1 Plaintiff’s affidavit does not show compliance with this rule. See generally Fed. R. Civ. P. 4.

 2          Plaintiff is hereby ORDERED TO SHOW CAUSE why this case should not be dismissed

 3 without prejudice. In order to avoid dismissal, Plaintiff must, within sixty (60) days of this order,

 4 provide the Court with an affidavit of service demonstrating compliance with the requirements of

 5 the Federal Rules of Civil Procedure.

 6          DATED this 17th day of September 2020.

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                                                          A
                                                          John C. Coughenour
13                                                        UNITED STATES DISTRICT JUDGE

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